          Case 1:19-cv-01471-ABJ Document 17 Filed 07/05/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MALLINCKRODT ARD LLC.,


                    Plaintiffs,

        v.
                                                    Civil Docket No. 1:19-cv-1471-ABJ
 SEEMA VERMA, in her official capacity as
 ADMINISTRATOR, CENTERS FOR
 MEDICARE & MEDICAID SERVICES, and
 ALEX M. AZAR II, in his official capacity as
 SECRETARY, UNITED STATES
 DEPARTMENT OF HEALTH AND HUMAN
 SERVICES,


                    Defendants.


                      DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants Seema Verma, in her official capacity as Administrator, Centers for Medicare

& Medicaid Services, and Alex M. Azar II, in his official capacity as Secretary, United States

Department of Health and Human Services, hereby move for summary judgment pursuant to

Rule 56 of the Federal Rules of Civil Procedure and Local Rule 7(h) on all claims brought

against them. The grounds for Defendants’ motion are set forth in the statement of points and

authorities that Defendants filed under seal on July 5, 2019. For the reasons explained in that

memorandum, Defendants respectfully request that the Court grant judgment in their favor.


Dated: July 5, 2019                              Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General

                                                 JAMES M. BURNHAM
                                                 Deputy Assistant Attorney General




                                                1
Case 1:19-cv-01471-ABJ Document 17 Filed 07/05/19 Page 2 of 2




                              JEAN LIN
                              Special Counsel, Federal Programs Branch

                              /s/ Kevin Snell_
                              KEVIN SNELL
                              Trial Attorney
                              Federal Programs Branch
                              U.S. Department of Justice, Civil Division
                              1100 L St. NW
                              Washington, D.C. 20005
                              Telephone: (202) 305-0924
                              Fax: (202) 616-8460
                              Email: Kevin.Snell@usdoj.gov

                              Counsel for Defendants




                              2
